                    UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF NEW MEXICO

  In Re: Fred Dale Van Winkle,

        Debtor.                                                        No. 13-11743-J7

           NOTICE OF DEADLINE FOR FILING OBJECTIONS
      TO TRUSTEE’S MOTION TO SELL PROPERTY OF THE ESTATE

  PLEASE TAKE NOTICE that on September 19, 2014, Clarke C. Coll, Chapter 7
  Trustee, filed his Motion to Sell Property of the Estate requesting Court
  authorization of the Trustee’s sale of Debtor’s Undivided ½ interest in Farmland
  located in Roosevelt County, New Mexico to Tammy Sprague for $12,500.oo
  cash. The proposed sale is “as is, where is” with no warranty of title to be
  conveyed by trustee’s deed. The original Motion is on file with the Clerk of the
  Bankruptcy Court, 500 Gold Ave. SW, Room 10206, Albuquerque, NM 87103 (P
  O Box 546) (505) 348-2500. The Trustee recommends that this sale be approved
  and that the offer is reasonable and will benefit the estate.

  IF YOU OBJECT TO THIS MOTION, you must file your objection with the Clerk
  of the Court at the above address within 21 days after the date of the mailing of
  this notice and you must transmit a copy of said objection to the undersigned and
  to the Office of the US Trustee, P O Box 608, Albuquerque, NM 87103. If you are
  an attorney, you must electronically file your objection. If objections are timely
  filed, a hearing to consider them will be held on short notice to objecting parties
  only and on counsel listed below. If no objections are filed, the Court may enter
  an Order granting relief sought without further notice of hearing.

                                    Coll Bros. Law, LLC
                                     Clarke C. Coll/S/Submitted Electronically
                                    Clarke C. Coll
                                    Attorney for Trustee
                                    P O Box 2288
                                    Roswell, NM 88202
                                    (575) 623-2288

          I certify that on September 19, 2014, I mailed a copy of this Notice to the
  Debtors, the Office of the US Trustee, all creditors herein and all counsel of
  record herein. A copy of the mailing list is attached to the original of this Notice
  on file with the Clerk of the Bankruptcy Court.

                                    Clarke C. Coll/S/Submitted Electronically
                                    Clarke C. Coll




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